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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 True the Vote, Inc.;
                                                 Plaintiff,
      v.                                                      Civil Case No. 1:13-cv-000734-RBW

 Internal Revenue Service, et al.;
                                              Defendants.


                                     PROPOSED ORDER

    This action is before the Court on Plaintiff’s Application and Motion for Attorneys’ Fees,

Costs, and Expenses Under the Equal Access to Justice Act. The Court holds that: (1) the EAJA

applies to this action; (2) Plaintiff meets the net worth eligibility requirements of the EAJA; (3)

the application is timely; (4) Plaintiff is the prevailing party in this litigation; (5) the Defendant

cannot carry its heavy burden of showing its position was substantially justified in either law or

fact and will not be able to show special circumstances make an award of fees unjust; (6) the

Plaintiff is entitled to a “bad faith enhancement” over the EAJA statutory rates; and (6) the

Plaintiff’s requested fees are fair and reasonable based upon prevailing market rates.

    It is ORDERED that the Defendant, the Internal Revenue Service, must pay Plaintiff, True

the Vote, Inc., $_____________ within 30 days from the date of the Order.

    SO ORDERED this ____ day of ___________, 2019


                                                _________________________________
                                                REGGIE B. WALTON
                                                United States District Judge




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June 14, 2019                             Respectfully submitted,
                                          /s/ James Bopp, Jr.
                                          James Bopp, Jr. (D.C. Bar No. CO0041)
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                                          Jeffrey P. Gallant*
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                                   Certificate of Service

I hereby certify that on February 20, 2018 , I caused the Proposed Order in Support of Plaintiff’s

Application and Motion for Attorneys’ Fees, Costs, and Expenses Under the Equal Access to

Justice Act and exhibits thereto in the above-captioned matter to be filed with the United States

District Court for the District of Columbia via the Court’s CM/ECF system.



                                                 /s/ James Bopp, Jr.
                                                 James Bopp, Jr.




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